           Case 1:12-cr-00168-DAD-BAM Document 32 Filed 03/22/13 Page 1 of 3



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 6 United States of America

 7

 8                                  IN THE UNITED STATES DISTRICT COURT

 9                                     EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                          CASE NO. 1:12-CR-00168 AWI-BAM
11
                                      Plaintiff,        STIPULATION AND ORDER TO VACATE AND
12                                                      SCHEDULE TRIAL DATE, TO VACATE AND
                              v.                        CONTINUE TRIAL CONFIRMATION HEARING,
13                                                      AND TO CONTINUE STATUS CONFERENCE
     SHIRLEY KAY DAVIDSON and                           FROM MARCH 25, 2013 TO JULY 22, 2013.
14   JAMES GIULIO DAVIDSON,
15                        Defendant.

16
            IT IS HEREBY STIPULATED by and between the parties hereto through their respective
17
     counsels, Grant B. Rabenn, counsel for the United States, and Carolyn D. Phillips, counsel for the
18
     defendant Shirley Kay Davidson, and James R. Homola, counsel for the defendant James Giulio
19
     Davidson, that the trial in the above-captioned matter now set for May 29, 2013 shall be vacated and
20
     rescheduled for December 10, 2013.
21
            FURTHER, IT IS HEREBY STIPULATED that the trial confirmation hearing presently
22 scheduled for May 6, 2013 will be vacated and rescheduled to December 2, 2013.

23          FURTHER, IT IS HEREBY STIPULATED that the status conference presently scheduled for
24 March 25, 2013 will be vacated and rescheduled to July 22, 2013 at 1:00 p.m.

25          FURTHER, IT IS HEREBY STIPULATED by the above parties that time shall be excluded
26 from the status conference date of May 25, 2013 through the new status conference date of July 22, 2013

27 based on the need for defense counsel to consult with the defendants, review current charges, conduct

28
      Stipulation and Order for New Trial Date           1
           Case 1:12-cr-00168-DAD-BAM Document 32 Filed 03/22/13 Page 2 of 3



 1 investigation, review discovery and otherwise prepare for trial. Accordingly, the above parties stipulate

 2 that the ends of justice served by continuing the case as requested outweigh the interest of the public and

 3 the defendants in a trial within the original date prescribed by the Speedy Trial Act, Title 18, United

 4 States Code, Section 3161, et. seq.

 5 Dated: March 21, 2013                                      BENJAMIN B. WAGNER
                                                              United States Attorney
 6

 7                                                            /s/ Grant B. Rabenn
                                                              GRANT B. RABENN
 8                                                            Assistant United States Attorney
 9                                                            /s/ Carolyn D. Phillips
10                                                            CAROLYN D. PHILLIPS
                                                              Attorney for Defendant Shirley Davidson
11
                                                              /s/ James R. Homola________________________
12                                                            JAMES R. HOMOLA
                                                              Attorney for Defendant James Davidson
13
                                                      ORDER
14
            IT IS HEREBY ORDERED that the trial in the above-captioned matter now set for May 29,
15
     2013, shall be vacated and rescheduled for December 10, 2013.
16
            FURTHER, IT IS HEREBY ORDERED that the trial confirmation hearing presently
17
     scheduled for May 6, 2013 will be vacated and rescheduled to December 2, 2013.
18
            FURTHER, IT IS HEREBY STIPULATED that the status conference presently scheduled for
19
     March 25, 2013 will be vacated and rescheduled to July 22, 2013 at 1:00 p.m.
20
            FURTHER, IT IS HEREBY ORDERED that time shall be excluded from the status
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     conference date of March 25, 2013 through the new status conference date of July 22, 2013 based on the
22
     need for defense counsel to consult with the defendant, review current charges, conduct investigation,
23
     review discovery and otherwise prepare for trial, and thus the ends of justice served by continuing the
24
     case outweigh the interest of the public and the defendant in a trial within the original date prescribed by
25
     the Speedy Trial Act, Title 18, United States Code, Section 3161, et. seq.
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      Stipulation and Order for New Trial Date            2
                           Case 1:12-cr-00168-DAD-BAM Document 32 Filed 03/22/13 Page 3 of 3


     IT IS SO ORDERED.
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 2 Dated: March 22, 2013
     DEAC_Signature-END:
                                                                 SENIOR DISTRICT JUDGE
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     0m8i788
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                      Stipulation and Order for New Trial Date        3
